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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION


UNITED STATES OF AMERICA,                         §
                                                  §
                                                  § CASE NUMBER 6:13-CR-00013-RC
v.                                                §
                                                  §
                                                  §
DANA LEE GRAY                                     §
                                                  §



                          REPORT & RECOMMENDATION OF
                         UNITED STATES MAGISTRATE JUDGE

       On February 21, 2017, the Court conducted a hearing to consider the government’s

petition to revoke the supervised release of Defendant Dana Lee Gray. The government was

represented by Frank Coan, Assistant United States Attorney for the Eastern District of Texas,

and Defendant was represented by Ken Hawk, Federal Public Defender.

       Defendant originally pled guilty to the offense of Conspiracy to Possess with Intent to

Distribute and Distribution of at Least 20 Grams but Less Than 30 Grams of a Mixture or

Substance Containing a Detectable Amount of Methamphetamine, a Class C felony. The offense

carried a statutory maximum imprisonment term of 20 years. The United States Sentencing

Guideline range, based on a total offense level of 17 and a criminal history category of III, was

30 to 37 months. On March 24, 2014, District Judge Leonard Davis sentenced Defendant to 30

months imprisonment followed by 3 years of supervised release subject to the standard

conditions of release, plus special conditions to include financial disclosure and participation in

drug/alcohol treatment. On May 19, 2015, Defendant completed the term of imprisonment and

began her term of supervised release.


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          Under the terms of supervised release, Defendant was required to refrain from possession

and use of any controlled substances. In its petition, the government alleges that Defendant

violated her condition of supervised release by submitting urine specimens that tested positive

for methamphetamine on July 21, 2016; September 14, 2016; and October 17, 2016.               The

government represents that based on Fifth Circuit case law, the Court can find that illicit drug

use constitutes possession.

          If the Court finds by a preponderance of the evidence that Defendant violated the

conditions of supervised release by possessing methamphetamine, Defendant will have

committed a Grade B violation. U.S.S.G. § 7B1.1(a). Upon a finding of a Grade B violation, the

Court shall revoke probation or supervised release.       U.S.S.G. § 7B1.3(a)(1).     Considering

Defendant’s criminal history category of III, the Guideline imprisonment range for a Grade B

violation is 8 to 14 months. U.S.S.G. § 7B1.4(a).

          At the hearing, the parties indicated that they had come to an agreement to resolve the

petition whereby Defendant would plead true to violating the conditions of supervision by

committing the acts as alleged in the government’s petition. In exchange, the government

recommended to the Court a sentence of 8 months imprisonment with no supervised release to

follow.

          Pursuant to the Sentencing Reform Act of 1984, the Court RECOMMENDS that

Defendant Dana Lee Gray be committed to the custody of the Bureau of Prisons for a term of

imprisonment of 8 months with no supervised release to follow. The Court FURTHER

RECOMMENDS that the place of confinement be Bryan, Texas to facilitate family visitation

and substance abuse treatment. The Court also RECOMMENDS any substance abuse and

rehabilitative treatment available to Defendant while incarcerated.



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          So ORDERED and SIGNED this 21st day of February, 2017.




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